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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 In re:

 BYRON PATTERSON McDANIEL JR.                       Case No. 09-37480 KHT
 and LAURA PAIGE McDANIEL,
                                                    Chapter 13
      Debtors.


 BYRON PATTERSON McDANIEL JR.                       Adversary No. 17-01274 KHT
 and LAURA PAIGE McDANIEL,

      Plaintiff,
 v.

 NAVIENT SOLUTIONS, LLC,

      Defendant.


               CERTIFICATION PURSUANT TO 28 U.S.C. § 158(d)(2)

       A notice of appeal having been filed in the above-captioned matter on
October 9, 2018, and a Joint Certification to the Court pursuant to 28 U.S.C.
§ 158(d)(2)(A) having been filed by Plaintiffs Byron Patterson McDaniel Jr. and
Laura Paige McDaniel, and Defendant Navient Solutions, LLC (“NSL,” and with
Plaintiffs, the “Parties”), who are all of the parties in this case acting jointly, the
Court hereby

      CERTIFIES pursuant to 28 U.S.C. § 158(d)(2)(A) and (B) and Fed. R. Bankr.
P. 8006(c) that a circumstance specified in 28 U.S.C. § 158(d)(2) exists as stated
below.

       This certification arises in an appeal from this Court’s Order on Motion to
Dismiss and Motion to Strike (the “Order”), dated September 24, 2018 (Dkt. No.
30), which is an interlocutory order or decree. Leave to appeal in this matter is
required under 28 U.S.C. § 158(a). In accordance with 28 U.S.C. § 158(d)(2)(A)(i)
and (iii), the Court hereby certifies that:

                   i.      the judgment, order or decree involves a question of law as to
                           which there is no controlling decision of the court of appeals
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                    for the circuit or of the Supreme Court of the United States, or
                    involves a matter of public importance; and

              ii.   an immediate appeal from the judgment, order or decree may
                    materially advance the progress of the case or proceeding in
                    which the appeal is taken.


      The Clerk is directed to transmit this Order, and related notices along with a
preliminary record to the Clerk of the Tenth Circuit Court of Appeals.

      Dated this 11th day of October, 2018.

                                             BY THE COURT:


                                             _________________________
                                             Kimberley H. Tyson
                                             United States Bankruptcy Judge




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